Case 1:23-cr-00171-JB-B Document 36 Filed 12/13/23 Page 1 of 2   PageID #: 86



                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA             *
                                     *
vs.                                  *
                                     *   CRIMINAL NO. 23-00171-JB
ZESHAN MALIK FAYYAZ,                 *
                                     *
      Defendant.                     *

                       PRETRIAL CONFERENCE ORDER

      A   pretrial   conference   was    held   before   the     undersigned

Magistrate Judge on December 12, 2023.          Conference participants

included Neil Stewart Hanley, counsel for Defendant Zeshan Malik

Fayyaz, and Assistant U.S. Attorney George May, counsel for the

Government.    At the conference, counsel advised Defendant intends

to change his plea of not guilty and enter a plea of guilty pursuant

to a plea agreement.

      Accordingly, this matter is set for a guilty plea hearing on

December 18, 2023, at 4:00 p.m. (CST), before Chief United States

District Judge Jeffrey U. Beaverstock, in Courtroom 4A of the

United States District Courthouse, 155 St. Joseph Street, Mobile,

Alabama 36602.

      The parties are ORDERED to file the written Rule 11 plea

agreement and factual resume not later than one (1) full day prior

to the guilty plea hearing.

      If Defendant decides not to plead as set forth above, counsel

shall immediately notify the undersigned Magistrate Judge, so that
Case 1:23-cr-00171-JB-B Document 36 Filed 12/13/23 Page 2 of 2   PageID #: 87



the   guilty   plea   hearing   may   be   canceled,   and   the    pretrial

conference rescheduled.

      The United States Marshal is DIRECTED to produce Defendant

Zeshan Malik Fayyaz for the above-referenced guilty plea hearing.

      ORDERED this 13th day of December, 2023.

                                        /s/ SONJA F. BIVINS
                                  UNITED STATES MAGISTRATE JUDGE




                                      2
